                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                       CRIMINAL DOCKET NO.: 3:03CR20

UNITED STATES OF AMERICA              )
                                      )
           vs.                        )                 ORDER
                                      )
KATHRYN P0WELL,                       )
                Defendant.            )
_____________________________________ )

       THIS MATTER is before the Court upon Defendant’s Motion To Terminate/Revoke

Restitution.

       Upon consideration of the defendant’s motion to Terminate/Revoke Restitution is

denied. Restitution is mandatory. The defendant can work out a less hardship payment

plan with Probation but the restitution must be paid

       IT IS, THEREFORE, ORDERED that defendant’s motion to Terminate/Revoke

Restitution is hereby DENIED.



                                            Signed: May 9, 2007




       Case 3:03-cr-00020-FDW       Document 45        Filed 05/09/07   Page 1 of 1
